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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   January 10, 2019
                     IN THE UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

CARLOS QUEMADA AND                §
TRACEY QUEMADA,                   §
                                  §
     Plaintiffs,                  §
                                  §
VS.                               §                     CIVIL ACTION NO. 4:18-cv-1072
                                  §
DEUTSCHE BANK NATIONAL TRUST §
COMPANY, AS TRUSTEE FOR           §
ARGENT SECURITIES, INC., ASSET- §
BACKED PASS-THROUGH               §
CERTIFICATES, SERIES 2006-W5, and §
OCWEN LOAN SERVICING, LLC,        §
                                  §
     Defendants.                  §

                   ORDER FOR DISMISSAL WITH PREJUDICE

       Pursuant to the Joint Stipulation of Dismissal with Prejudice filed by the parties, the

Court dismisses all cause of action asserted by Carlos and Tracey Quemada against

Deutsche Bank National Trust Company, as Trustee for Argent Securities, Inc., Asset-

Backed Pass-Through Certificates, Series 2006-W5 and Ocwen Loan Servicing, LLC with

prejudice. Each party will bear its own costs, attorneys' fees, and litigation expenses.


                                             _____________________________________
                                             THE HONORABLE LEE H. ROSENTHAL
                                             UNITED STATES FEDERAL DISTRICT
                                             COURT JUDGE
